 

Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 1 of { F P

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IN THE UNITED STATES DISTRICT COURT | q
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

GODINA JONES, )  CIVILACTION
reat
Plaintiff, , CAN. Q5mt¢
1052
vs. )
)
MICHAEL E. LAMB, PROTHONOTARY ) RECEIVED
OF THE COURT OF COMMON PLEAS
OF ALLEGHENY COUNTY, PENNSYLVANIA, ) WL 29 2005
and CONSTABLE JOHN A. SNYDER,
) CLERK, U.S. DISTR
/ULS, DISTRICT COURT
Defendants. ) WEST. DIST. OF PENNSYLVANIA
COMPLAINT
|. INTRODUCTION

Wek ke

This action challenges the constitutionality of Rule 1008B of the
Pennsylvania Rules of Civil Procedure for District Justices. (Pa.R.Civ.P.D.J. No. 1008B,
hereinafter referred to as “Ryle 1008B”) This Rule has the effect of depriving poor
residential tenants of their possessory rights to their leased residences, and preventing
them from remaining in their homes pending their statutorily-authorized de novo trials
_ following appeals from adverse magisterial district court eviction judgments, because it
requires the tenant/appellants to pay an unaffordable sum as a condition to receiving a
stay.

Rule 1008B requires that tenants who file Notices of Appeal requesting de novo
trials following magisterial district court eviction judgments, must pay a bond of (1) the

lesser of the judgment for rent allegedly in arrears, OF three times the monthly rent, and
 

Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 2 of 37

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(2) ongoing interlocutory rent, based on the determination of the magisterial district
judge.

The Defendant Prothonotary enforces this requirement regardless of whether the
magisterial district judge determination is wrong as a matter of fact or law. The
Defendant Prothonotary will issue a “supersedeas” which stays the tenant's eviction
pending the outcome of the de novo trial, only if the tenant/appellant pays the full bond
upon the filing of the appeal, and ongoing rent, thereafter. If the tenant fails to pay the
full bond when the appeal is filed, then the Defendant Prothonotary will not issue the
“supersedeas.”

Rule 1008B contravenes the rights of poor tenants to substantive and procedural
due process as guaranteed by the Fourteenth Amendment. This is because it deprives
indigent tenants of their right to remain residents of their leased premises before they
are afforded the opportunity to present meritorious defenses to eviction hearings at the
de novo trials scheduled following appeals from magisterial district court eviction
judgments. Moreover, Rule 1008B contravenes the constitutionally-guaranteed due
process rights of poor tenants because it inevitably confines the entire litigation of their
eviction disputes to the magisterial district court arena, a forum which was not designed
to provide constitutionally adequate due process.

Finally, Rule 1008B violates indigent tenants’ rights guaranteed by the Equal
Protection Clause of the Fourteenth Amendment, because it imposes financial burdens
upon tenants which are not imposed upon any other class of litigants who desire to
appeal de novo adverse magisterial district court judgments. In fact it even imposes a

greater burden on residential tenants than on commercial tenants.
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 3 of 37

li. JURISDICTION

1. This action is brought pursuant to 28 U.S.C. §§1331, 1343(3) and (4) and
pursuant to 42 U.S.C. §1983 to vindicate Ms. Jones’ rights secured by the Fourteenth
Amendment to the United States Constitution. Ms. Jones’ claim for declaratory and

injunctive relief is authorized by 28 U.S.C. §§ 2201 and 2202.

lil. PARTIES

2. Plaintiff Godina Jones (also known as Godina Jones Jett) is an adult
individual and tenant who, for approximately six months has leased and resided at 519
McClintock Ave., Pittsburgh, PA, 15214, along with her seventeen-year-old son,
fourteen-year-old daughter, and thirteen-year-old daughter.

3. Ms. Jones and her family are poor. Ms. Jones is a school bus driver for
Monark Student Transportation Corporation, and her income varies depending on
whether school is in session. During the school year, Ms. Jones earns an average
gross of $1500 per month. During summers, Ms. Jones cleans the school buses and
drives for an occasional charter trip. During those months, she only makes up to a
gross of $600 per month at Monark, and a gross of $522 per month in a part-time
housekeeping position with Central Properties. The father of Ms. Jones’ children pays
child support sporadically at best. He has not paid any support since December of
2004. Thus, the family of four must rely upon Ms. Jones’ income of $1500 per month
during the school year and $1122 per month during the summer to provide their basic

needs.
 

Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 4 of 37

4. Defendant Michael E. Lamb is the Prothonotary of the Court of Common
Pleas of Allegheny County, Pennsylvania. As Prothonotary, Mr. Lamb is responsible for
the proper administration of the Allegheny County Courts of Common Pleas, including,
inter alia, the acceptance of Notices of Appeal requesting de novo trials from magisterial
district court judgments, and the issuance of supersedeas directives (stays) against
eviction orders granted by magisterial district judges.

5. Defendant John A. Snyder is a state-licensed constable who, inter alia, is
authorized to execute eviction orders entered against tenants by magisterial district
judges, and who served notice upon Ms. Jones of his intention to do so on behalf of

Pinecastle Realty, the owner/landlord of the residential property leased by Ms. Jones.

IV. STATEMENT OF FACTS

6. On January 14, 2005, Ms. Jones entered into a written lease agreement with
Pinecastle Realty LLC (hereinafter “Pinecastle”), for the rental of the residence at 519
McClintock Ave., Pittsburgh, PA 15214, in consideration of $780 monthly rent. A copy
of the lease is attached as Exhibit A.

7. As of January 14, 2005, Ms. Jones was a participant in the U.S. Department
of Housing and Urban Development Section 8 Housing Voucher Program. The Section
8 voucher program is a federal housing program which enables low-income tenants to
rent otherwise-unaffordable privately-owned residential units. Under this program, a
landlord is permitted to charge an approved reasonable fair market rent for the leased
property, although the Section 8 tenant is obligated to pay only approximately 30% of

the tenant’s adjusted gross income to the landlord. The balance of the rent is
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 5 of 37

guaranteed and paid by the federal Section 8 program.

8.The Section 8 program is regulated by the Department of Housing and Urban
Development (HUD), and in Pittsburgh, administered by the Housing Authority of the
City of Pittsburgh (HACP). Pursuant to this program, the HACP establishes the
maximum rent the landlord may charge and collect in accordance with HUD guidelines.
After rent is set and the HACP and the landlord sign a Housing Assistance Payments
Contract (HAPC), the landlord and the tenant sign a lease in accord with the
HUD/HACP approved rent and other HUD requirements.

9. Ms. Jones and Pinecastle entered into the lease at Exhibit A in contemplation
of its approval by the Housing Authority of the City of Pittsburgh (hereinafter “HACP’”).

10. HACP did not approve the Exhibit A lease for $780 monthly rent.

11. Rather, on January 16, 2005, HACP approved a second lease between Ms.
Jones and Pinecastle for the rental of the same residence at 519 McClintock Avenue,
but in consideration of $540 monthly rent. Although Ms. Jones and Pinecastle signed
this second lease on March 24, 2005, the term of the lease was retroactive to January
16, 2005. A copy of the second lease is attached as Exhibit B.

13. On that same day, HACP and Pinecastle entered into a Housing Assistance
Payments Contract (HAP Contract), Exhibit C, which included a Tenancy Addendum,
Exhibit D, to be attached to and incorporated, into Ms. Jones’ lease.

14. On January 18, 2005, HACP notified Ms. Jones that HACP had determined
the total fair market rent to Pinecastle for the apartment at 519 McClintock was $540.
Further, HACP notified Ms. Jones that her portion of the monthly rent was $240, and

HACP’s portion was $300. See Exhibit E attached.
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 6 of 37

15. Part B(6)(a) of the HAP Contract and 24 CFR Section 982.507(a)(2)(i) and
(4) provide that “the rent to owner may at no time exceed the reasonable rent for the
contract unit as most recently determined or redetermined by the PHA (public housing
authority)...”

16. Section 5(e) of the Section 8 Tenancy Addendum, incorporated by
reference into Ms. Jones’ January 16, 2005 Section 8 approved lease, absolutely
prohibits Pinecastle from “charg[ing] or acceptfing], from Ms. Jones “or any other
source, any payment for rent in addition to the [HACP approved] rent to owner.”
Section 5(f) of the Tenancy Addendum, requires an owner to immediately return any
excess rent payments to the tenant.

17. Despite the HACP approved lease for $540 monthly rent, Pinecastle
demanded from Ms. Jones a total of $780 monthly rent, thereby requiring Ms. Jones to
pay $480 per month, twice the amount she was required to pay under the Section 8
lease.

18. HACP did not redetermine the reasonable rent to Pinecastle prior to
Pinecastle’s increase in the rent it demanded from Ms. Jones.

19. As of January 2005, Ms. Jones and her family had been homeless for four
months. Ms. Jones agreed to pay Pinecastle $480 per month because she was
desperate to find housing for her family.

20. Because Ms. Jones and her family were not able to move into the residence
at 519 McClintock Avenue until February 2005, Pinecastle did not charge Ms. Jones,
and she did not pay rent for the month of January.

21. During the months of February, March, April, and May 2005, Ms. Jones paid
 

Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 7 of 37

Pinecastle $480 per month—twice the amount required by the HAP contract entered
between Pinecastle and HAP and by the January 16, 2005 HACP approved lease
agreement entered between the parties Pinecastle never returned any excess rent to
Ms. Jones.

22. Throughout this same period, and continuing through the present date,
Pinecastle has also been paid, and continues to be paid, $300 per month from the
HACP.

23. Due to her limited income, compounded by the significant reduction in
income due to the end of the school year, as well as the fact that, for four months, she
had been paying twice the monthly rent she was required to pay by her Section 8 lease,
and as determined by HACP to be 30% of her adjusted income, Ms. Jones was unable
to tender additional rent to Pinecastle in June and July 2005.

24. On July 1, 2005, Pinecastle instituted an eviction action against Ms. Jones
before a Pennsylvania magisterial district court judge, alleging she had breached her
lease by not paying rent in the amount of $1020. The complaint stated that the monthly
rent for the apartment at 519 McClintock was $650 per month. A copy of this “Landlord
And Tenant Complaint” is attached at Exhibit F.

25. On July 11, 2005, Ms. Jones was half an hour late for the magisterial district
court hearing due to circumstances beyond her control. She was not permitted to
attend the hearing at that point. In Ms. Jones’ absence, the magisterial district judge
entered a judgment granting possession of the premises at 519 McClintock to
Pinecastle. Additionally, the magisterial district judge found Ms. Jones liable for

Pinecastle’s entire rent claim of $1020, plus $93.00 costs. The magisterial district
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 8 of 37

judge’s Notice Of Judgment, issued July 11, 2005, is attached as Exhibit G.

26. As of July 1, 2005, the date on which Pinecastle filed the Landlord And
Tenant Complaint against Ms. Jones, Ms. Jones did not owe Pinecastle any rent under
the terms of the HACP approved lease and Tenancy Addendum. Indeed, under Section
o(f) of the Tenancy Addendum, Pinecastle owed Ms. Jones $480 in excess rent paid
($960 excess rent paid from February 2005 through May 2005 less $480 as the proper
amount of rent owed by Ms. Jones to Pinecastle for June and July 2005 rent).

27. On July 20, 2005, based upon the foregoing meritorious defenses, Ms.
Jones’ filed a timely Notice of Appeal from the magisterial district court judgment
pursuant to Pennsylvania law which permits de novo trials in the courts of common
pleas, upon appeals filed within ten (10) days from the entry of magisterial district court
judgments. Pa.R.Civ.P.D.J. 1002B.

28. Pennsylvania law generally provides that a defendant’s filing of an appeal
from a district justice judgment, demanding a de novo trial, operates as an automatic
supersedeas (i.e., a stay) delaying execution of the district justice judgment, pending
the outcome of the de novo trial. However, with regard exclusively to
defendant/tenants, Rule 1008B grants a supersedeas only to those tenants who can
afford to deposit with the Prothonotary a specifically-defined money bond with the
Prothonotary. Pursuant to Rule 1008B, the bond must be equal to the lesser of three
(3) months’ rent or the rent actually in arrears on the date of the filing of the appeal--
regardless of the propriety of the judgment amount. Each of these amounts is
determined, as a final matter, by the magisterial district judge.

29. Pursuant to Rule 1008B, the lowest possible amount that Ms. Jones could
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 9 of 37

have deposited with the Prothonotary in order to prevent her forcible eviction pending
the outcome of the de novo trial upon her appeal, would have been $720, which is (3)
months’ rent under the HACP approved lease.

30. On the date of her appeal, July 20, 2005, Ms. Jones, who is indigent and
who had already paid $480 to Pinecastle in excess of the monthly rent required by her
HACP approved lease and Tenancy Addendum, did not possess $720 in funds for
obtaining the supersedeas. Therefore, no supersedeas was issued.

31. Consequently, on July 22, 2005, Pinecastle requested and the magisterial
district judge issued an execution writ, known as an Order For Possession, Exhibit H.

32. On July 25, 2005, Defendant Constable John A. Snyder served the Order For
Possession upon Ms. Jones. The Order provides that, unless Ms. Jones and her
children vacate their home by August 5, 2005, Defendant Snyder will forcibly evict Ms.
Jones and her three minor children from the home in which they have resided—and for
which they have paid more than all the rent due under the pertinent lease—for the past
six months.

33. Unless Defendant Prothonotary issues a supersedeas in Ms. Jones’ appeal,
Ms. Jones and her children will be forcibly and permanently evicted from their home,
without first having been afforded any opportunity at a de novo hearing to prove that the
landlord did not have any legal basis or any other meritorious justification for terminating
their lease and evicting them.

34. Ms. Jones and her three children have nowhere to move, and no place to
stay, even temporarily.

35. They do not have any family or friends who have the means or resources to
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 10 of 37

provide Ms. Jones and her children with adequate temporary shelter. If they are evicted,
Ms. Jones and her children will become homeless. They will be displaced from the
community in which they have resided for the past six months, thereby disrupting their
lives.

36. If forcibly evicted, Ms. Jones and her family could be indefinitely separated in
order to obtain emergency shelter. It is highly likely that Darron Jones, Ms. Jones’ eldest
child, would not be permitted to stay in a temporary shelter with his mother. Many
shelters will not permit older boys to remain in the same temporary residence space as
women and younger children. Thus, Ms. Jones would be unable to watch over and
provide care to her minor son.

37. Additionally, Darron Jones has seizures which seems to coincide with added
stress and discomfort. These symptoms greatly increase the severity of any separation
caused by Ms. Jones and her son’s need for emergency shelter because such
separation would prevent Ms. Jones from providing necessary care for her son and
ensuring that his needs are met on a regular basis.

38. Furthermore, if Ms. Jones and her children are forcibly evicted, all of their
family belongings may be destroyed, damaged, or lost. Ms. Jones does not have the
financial resources to remove her family’s belongings from the residence or to place
them in storage. Consequently, Ms. Jones and her children will lose their entire worldly

possessions and be left without the means to provide for the necessities of daily life.
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 11 of 37

V. CAUSES OF ACTION
A. FIRST CAUSE OF ACTION: DEPRIVATION OF MS. JONES’ DUE

PROCESS PROTECTIONS UNDER THE FOURTEENTH AMENDMENT

OF THE UNITED STATES CONSTITUTION

39. Paragraphs 1 - 38 of the Complaint are hereby incorporated by reference as
though they were now set forth in full.

40. Upon her filing of the appeal from the magisterial district court eviction
judgment, Ms. Jones became entitled to a de novo trial to determine the merits of
Pinecastle’s claims for rent and possession, and her defenses thereto.

41. Due to her and her family’s poverty, Ms. Jones utterly lacks the financial
ability to pay the minimum $720 that would be demanded by Defendant Prothonotary,
pursuant to Rule 1008B, to prevent her and her family’s eviction prior to the common
pleas’ court trial and determination of the merits of the eviction case filed against her.

42. Ms. Jones nonetheless is able to deposit with the Prothonotary one month’s
rent, in the amount of $240, and ongoing monthly rent thereafter, which would accrue
pending the de novo appeal trial, to prevent any possible further financial prejudice to her
landlord until the merits of the eviction action are decided at the de novo trial.

43. Even if, at the de novo trial, Ms. Jones presents her meritorious defenses and
prevails, and even if it is determined that Ms. Jones and her children should not be
evicted from their residence, without a supersedeas they will long since have been
forcibly evicted from her residence, and they will long since have become homeless.

44. Once evicted, Ms. Jones and her children will be left without any meaningful

relief, even if they prevail at the de novo trial.

45. Rule 1008B erects an unconstitutionally impermissible barrier, based solely
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 12 of 37

on inability to pay, to Ms. Jones’ right to seek meaningful de novo review of the
magisterial district court eviction judgment.

46. Because Rule 1008B denies Ms. Jones and her children the right to remain in
possession of their leased residence pending the outcome of a de novo appeal trial, the
rule contravenes the due process guarantees of the 14" Amendment to the United
States Constitution.

B. SECOND CAUSE OF ACTION: DEPRIVATION OF MS. JONES’ DUE

PROCESS PROTECTIONS UNDER THE FOURTEENTH AMENDMENT OF

THE UNITED STATES CONSTITUTION

47. Paragraphs 1-44 are hereby incorporated by reference.

48. Under Pennsylvania law, residential landlords are afforded the choice of two
distinct judicial forums in which to institute eviction proceedings against residential
tenants. A landlord may either file an “ejectment action” in the Civil Division of the Court
of Common Pleas or a “landlord/tenant complaint” in a neighborhood magisterial district
court office.

49. If a landlord chooses to file an ejectment action in the Court of Common
Pleas, tenant/defendants are entitled to receive notice of the basis for the lawsuit by
means of “fact pleading.” Prior to the ejectment trial, tenant/defendants are entitled to
assert preliminary legal defenses, by means of preliminary objections or motions for
summary judgment. Prior to trial, tenant/defendants are entitled to obtain pre-trial
discovery. Further, tenant/defendants are entitled to join additional defendants as
parties to the landlord’s lawsuit, as needed to establish appropriate liability. Ejectment
actions are litigated before either a jury or a law-trained judge, and must be tried in a

court of record so that litigants may obtain appellate review of the issues asserted at trial.
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 13 of 37

50. On the other hand, a landlord additionally has the unilateral right to elect to
file a Landlord and Tenant Complaint before a neighborhood magisterial district judge.
These magisterial district court proceedings are strikingly distinct from proceedings
before the courts of common pleas. In marked contrast to ejectment actions,
neighborhood magisterial district judge landlord/tenant proceedings do not afford
tenant/defendants with any of the foregoing procedural rights.

51. Landlord/plaintiffs in magisterial district court proceedings, as opposed to
ejectment actions, do not provide fact-based notice of the grounds for the eviction lawsuit
to tenant/defendants. Nor do tenant/defendants in magisterial district court proceedings
have the right to assert pre-trial defenses to the lawsuit filed against them. Moreover,
tenant/defendants in magisterial district court proceedings are denied pre-trial discovery
of the matters complained of. Tenant/defendants have no right, in magisterial district
court proceedings, to add additional defendants, despite the possibility that a party other
than the named defendant could be liable to the landlord. See, Pa.R.Civ.P.D.J. 325.

52. District justices, unlike judges of the courts of common pleas (or juries who
are instructed by the judges concerning the applicable law) need not, and often do not
possess, legal training comparable to that of judges. Finally, district justice proceedings
are not courts of record, thereby precluding any opportunity for the litigants to have the
merits of the determination reviewed by the appellate judiciary.

53. Under Pennsylvania law, landlords--and not tenants--are granted the
complete and exclusive right to choose in which of the foregoing forums an eviction
action will be filed. Tenants have no right to demand that an action Originally filed with a

district justice be removed to the court of common pleas, or vice-versa.
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 14 of 37

54. The Pennsylvania legislature has afforded tenant/defendants in magisterial
district court proceedings the right to request and obtain trials de novo following adverse
judgments of district justices, partly in recognition of the foregoing significant and severe
constraints imposed upon litigants in district justice landlord/tenant proceedings
contrasted to those of defendants in ejectment actions,

55. Prior to the implementation of Rule 1008B, the Pennsylvania legislature
permitted residential tenants who requested de novo trials following adverse district
justice eviction judgments to deposit ongoing rent as a condition for remaining in their
residences pending the outcome of the appeal trial.

56. Since March 29, 1996, however, Pa.R.Civ.P. 1008B has required that the
tenant deposit with the Prothonotary either three months’ rent or the entire amount of
rent in arrears (whichever is less) as determined by a district justice, in addition to
ongoing monthly rent, as a condition for remaining in the disputed residence pending the
outcome of the de novo eviction trial.

57. Ms. Jones’ landlord elected to file its eviction action against Ms. Jones in the
neighborhood magisterial district court office, rather than in the court of common pleas.

58. After the magisterial district court judge entered an adverse judgment against
her, Ms. Jones requested a de novo trial. Nevertheless, simply because she cannot
afford to pay the bond required by Rule 1008B, Ms. Jones will not be protected against
her and her children’s forcible eviction--the very relief sought by the landlord and the
merits of which remain to be decided by a pending de novo trial.

59. To the extent that Rule 1008B deprives Ms. Jones from an opportunity to

exercise her right to a de novo trial to litigate her defenses in a forum which provides full
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 15 of 37

and fair procedures, prior to her and her children’s eviction, Ms. Jones has been

unconstitutionally deprived of the due process protections guaranteed by the Fourteenth

Amendment.

D. THIRD CAUSE OF ACTION: DEPRIVATION OF MS. JONES’ RIGHTS TO
EQUAL PROTECTION OF THE LAWS UNDER THE FOURTEENTH
AMENDMENT OF THE UNITED STATES CONSTITUTION
60. Paragraphs 1 through 59 are hereby incorporated by reference.

61. Pennsylvania law provides every litigant the right to a de novo trial following
an adverse magisterial district court civil determination, upon proper demand by the
affected litigant.

62. In all cases other than eviction actions, defendants who properly request de
novo trials following adverse magisterial district court judgments are automatically
granted stays from execution of those adverse judgments, pending the outcome of the
de novo trials, regardless of the merits of those defendants’ appeals.

63. Additionally, tenant/defendants who properly request de novo trials following
adverse magisterial district court judgments, who have the financial means and
resources to obtain supersedeases by paying the sums required by Rule 1008B, likewise
are granted stays from execution of adverse possession (eviction) judgments, thereby
entitling those tenant/defendants to remain in their residences pending the outcome of
the de novo trials, also regardless of the merits of their tenant/defendants’ appeals.

64. However, those tenant/defendants who properly request de novo trials
following adverse district justice judgments but who do not have the financial means and
resources to pay the sums required by Rule 1008B, will not be granted stays from

execution of adverse eviction judgments. Those defendants, alone, will not be entitled to

 
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 16 of 37

remain in their residences pending the outcome of the de novo trials, regardless of the
merits of their appeals.

65. Rule 1008B imposes upon poor tenant/defendants who file appeals from
adverse magisterial district court eviction judgments, a condition for obtaining a
supersedeas pending the outcome of de novo trials, which is impossible to fulfill, due
exclusively to the poor defendants’ indigency, and which is distinct from the conditions
imposed upon all other similarly-situated defendant/appellants. Rule 1008B erects for
poor tenants, alone, an insurmountable barrier to receiving a supersedeas pending the
outcomes, by de novo trials, of appeals from adverse magisterial district court eviction
judgments.

66. Due exclusively to her poverty, Godina Jones does not have the financial
means to deposit the sum required by Rule 1008B in order for her and her family to
remain in their residence pending the outcome of the de novo trial on the merits of the
eviction action, to which she was legally entitled.

67. Rule 1008B consequently deprives Ms. Jones of her right to equal protection
guaranteed by the Fourteenth Amendment to the United States Constitution, because
the Rule discriminates against her status as an indigent tenant/defendant/appellant
without any rational basis.

VI. CLAIMS FOR RELIEF

The Plaintiff prays that this Honorable Court grant her the following relief:

A. Determine and declare that Pa.R.Civ.P.D.J. 1008B creates an unconstitutional!
barrier to an indigent tenant's right to meaningful de novo review of the magisterial

district court eviction judgment in contravention of the Due Process and Equal Protection
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 17 of 37

Clauses of the United States Constitution and rights secured under 42 U.S.C. §1983.

B. Enter a preliminary and permanent injunction enjoining the Prothonotary of the
Court of Common Pleas from continued application of Pa.R.Civ.P.D.J. No. 1008B which
requires payment of the lesser of either the amount of rent in arrears or three times the
monthly rent as determined by the district justice, without an opportunity to be heard;

C. Enter a preliminary and permanent injunction enjoining the Prothonotary of the
Court of Common Pleas to issue a supersedeas in the pending de novo appeal
proceeding filed in the Court of Common Pleas of Allegheny County, Civil Division, at
Pinecastle Realty v. Jones, LT 05-242, subject to Ms. Jones’ deposit of one month’s rent
payment and monthly rent thereafter, throughout the pendency of her appeal to the
Pennsylvania common pleas court.

D. Enter a preliminary and permanent injunction enjoining Defendant Constable
Snyder from evicting Godina Jones and her children from their home on or after August
5, 2005

E. Grant such additional relief as the Court deems fitting and proper.

Respectfully Submitted,

/s/ Eileen D. Yacknin ~~ Mp Ga, /.
Eileen D. Yacknin . QO
Pa.l.D. No. 26525 ‘

Vo VA
/s/ Mary Ellen Droll_ Mh d / [ /

Pa.I.D. No. 67618

Neighborhood Legal Services Association
928 Penn Avenue

Pittsburgh, Pennsylvania 15222

(412) 255-6700 Ext. 6155, 6116
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Case 2:05-cv-01052-DSC Document 1-2. Filed 07/29/05 Page 18 of 37

Pinecastle Realty, LLC |
P.O. Box 9607 ; EXHIBIT

Pittsburgh, PA 15226 A .

(412) 379-5005

 

 

LEASE

Property Located at: 519 McClintock Avenue

10.

Pittsburgh, PA 15214

Godina Jones will be the tenant renting the house located on 519 McClintock Avenue,
Pittsburgh, Pennsylvania beginning January 46 2005 to December 31, 2005.

The monthly rent for the property will be paid as follows: $780.00 per month due the *””
of each month. Any payments made between the 5" and the 9" of that month witl be
subject to a $25 late charge and an evication notice will be mailed. Any payments made
between the 10" and the 15" of that month will be subject to the $25 late ~harge plus an
additional $25 for a total of $50. On the 16" of the month, if the rent with late charges
has not been paid, eviction proceedings will begin.

A security deposit in the amount of $780.00 will be due at the sume time the lease is
executed by the tenant-to-be. If tenant should choose not to reside in the home once the
lease has been executed and the security deposit payment ‘has been received by the
landlord, the tenants will forfeit the security deposit in the amount of $780.09.

On October 1, 2005 the tenant, Godina Jones, must tell ‘the owner, Pinecastle Realty,
LLC, their plans of remaining in the house so as to give the owners time to rent the
premises to another tenant. At this time, it is expevted that the tenant, Godina Jones,
will be cooperative in the showing of the apartmet.

Tenant is responsible for any damage done to th< property which is considered above
and beyond normal wear and tear. The security deposit will be used to repair any
damage of this nature. Tenant is responsible or the maintenance of all appliances
provided and owned by the landlord.

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At signing of this lease the number of persons living in the home is (1) adult and (3)
children, No more persons shall begin residence in the apartment.

Owner is responsible for repaixs tO the property that are not due to willful, contemplated
destruction on behalf of the t enant.

Owner has the right to inspect the property at any time providing a call 1 hour before
inspection. Tenant is to prov, ‘de landlord with his/her phone number within 1 month of

signing the lease. [f home tele phone number is not avaitable, tenant must provide a
feasible mean of communicatic 0 to landlord.

Tenant is responsible for the paymier It of all utilities.

No animals permitted.
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 19 of 37

. ll. Tenant is responsible for snow removal. Tenant is responsible for purchasing (2)
garbage cans to keep outside and all garbage must be bagged appropriately and kept in
garbage containers with lids so as not to attract rodents and animals. Any pest control

expense whigh is the resylt of tenant negligence will be the responsibility of the tenant.
Tenant initial-here: IK oe .

12. Tenant has tested all of the smoke detectors and agrees that they are in working order.
Tenant is responsible for keeping the smoke detectors in working order i.e., replacing

the batteries when necessary and a Vising the landlord of any malfunction of the smoke
detectors. Tenant initial here 3 .

13. By signing this lease, tenant waives the 10-day notice to vacate premises.

Tenant initial here Je

 

14. Tenant is required to show verification of a Tenant Insurance Policy from an Insurance
Company.

IF TENANT CHOOSES TO CIRCUMVENT ANY PART OF THIS LEASE AT ANY TIME, -
TENANT WILL BE ASKED TO LEAVE THE PREMISES IMMEDIATELY, — -.----------------

 

Signed:

aed Cevea-
. LAA Ue
_ Godina Jones, Tefant -
Date:_/ -/4:05

Sv hho
Pinecastle Realty, LLC, Owner
Managed by Shawn McGrady [

Date. /- [¢- OS”

 

SA. A
Is, HQ Lawd log) well pay the Srast S®. dF the

Month ly wotee anf sewage bill the temanf 5

Responsible For balance oveg ¥ ep 20 oi
“Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 20 of 37

  

LEASE AGREEMENT

This agreement dated January 16, 2005 is by and between

Pinecastle Realty LLC herein after called “Lessor” and

 

Godina Jones Jett herein after called “Tenant”

 

for the unit located at 519 McClintock Ave., Pittsburgh, PA 15214

Under the following conditions:

1. TERM .

 

 

a.The initial term of this agreement shall be for E/¢ven and a Half (11.5) Months
beginning on January 16, 2005 and ending on
December 31, 2005 for the total sum of $ $6,210.00

 

b.Upon the expiration of the initial term, this agreement shall automatically renew
for successive month-to-month terms.

2. RENT PAYMENT

a.The tenant shall pay the Lessor as rent for the leased premises in monthly
_ installments in advance without demand at

210 Pinecastle Rd., Pittsburgh, PA 15206

 

b.From the beginning of the term the sum of $_ $540.00 in advance

thereafter during the term of any renewal thereof, until the whole amount of said
rent is paid.
“Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 21 of 37

UTILITIES AND APPLIANCES

a.The landlord shall provide the utilities listed in the column below for the dwelling
unit without any additional charge to the Tenant. The cost of these utilities is
included in the contract rent The utilities listed in the column below that are not
included in the contract rent are to be paid by the tenant.

 

 

 

 

 

 

 

Utility ___ Type Owner/ Tenant Responsible for Payment.
Heating Natural Gas Tenant
Cooking Heat Natural Gas Tenant
Lights Tenant
Water Heating Natural Gas Tenant
Water: Tenant
Sewage . Landlord
Other Tenant

 

 

 

 

 

b.)1.The range for the dwelling unit shall be provided by the Tenant
(specify Landlord or Tenant, unspecified shall be provided by Landlord.)

b.)2.The refrigerator for the dwelling unit shall be provided by the Tenant
(specify Landlord or Tenant, unspecified shall be provided by Landlord).

LESSOR RESPONSIBILITIES The Lessor shall:

1. Comply with all State, County and /or Municipal Building, Fire Prevention
Housing and Health Department Codes applicable to the Lessor.

2. Maintain the unit in accordance with Housing Quality Standards (HQS),
including performance of ordinary and extraordinary maintenance, unless
otherwise stated in Additional Provisions section of this lease.

TENANT RESPONSIBILITIES The Tenant Shall:

1.Comply with all State, County, and /or Municipal Building, Fire Prevention,
Housing and Health Department codes applicable to the tenant.

2.Maintain and keep the premises during the term in good repair and agree to pay
for repairs of any damages they or their guests have caused.

3.Make no additions or alterations without prior consent of the lessor.

4.Not sublet any part of the premises nor assign this agreement to anyone else

5.Not lawfully occupy the premises after the end of the term. If the tenant continues
to occupy the premises after the end of the term, the tenant shall be directly
responsible for for all rent due and payable to the Owner of the premises.
Case 2:05-cv-01052-DSC’ Document 1-2. Filed 07/29/05 Page 22 of 37

6. SECURITY DEPOSIT
The tenant has paid a security deposit in the amount of $ $780.00

to the Lessor, for damages, unpaid rent and/or any other charges due under the
lease.

7. ADDITIONAL PROVISIONS (IF AN Y)

n/a

8. LEASE ADDENDUM

The attached Lease Addendum and Prohibited Lease Provisions are incorporated
herein and made a part of this lease. —o

ACKNOWLEDGEMENT
All parties hereby acknowledge
agree to it.

have read this Agreement and understand it and

   

WITNESS:

( . al)

 

 

 

33y- Os (Seal)
5
Kocb ea. _ ares (ete
\ (Tenant) 7 7
3-24 -0Os> (Seal)

(Date)
"Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 23 of 37

  

EXHIBIT

U.S. DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT § & —C
SECTION 8 HOUSING VOUCHER PROGRAM

AGENCY DETERMINATION WITH RESPECT TO REQUEST FOR LEASE APPROVAL
(To be sent to the Owner and Family)

Check . Contract #__ 205548123
applicable
item

x 1. Approval: The Agency hereby approves the proposed lease between

(family) Godina Jones Jett

(owner) Pinecastle Realty LLC

 

 

unit located at 519 McClintock Ave., Pittsburgh, PA 15214
(Street address and apartment, if any)

 

a. Enclosed is the proposed lease, which has been completed by the
Agency with respect to the portion of the monthly lease rental
which the Family shall be obligated to pay to the Owner. The lease shall
be executed by the Family and the Owner and a copy returned to the
Agency. _

b. Also enclosed are three copies of a Housing Voucher Contract
completed by the Agency except for execution. The Owner shall sign ail
copies of the Contract and return them to the Agency. The Agency will
execute the Contract by the first day of occupancy specified in the
Lease and will immediately return an executed copy to the Owner.

2. Disapproval: The proposed Lease and/or Dwelling Unit are/is disapproved for
the following reasons:

3. Resubmission: If the conditions in item 2 above have been remedied, and a
Request for Lease Approval is resubmitted by the Owner and the Family to the
Agency by (date) the Lease will be approved by the
Agency if it is determined that the conditions have been remedied to its
satisfaction.

(The Housing Voucher issued to the Family shall not expire before said date.)

_ZPITPSBURGH HOUSING AUTHORITY
(Nam Hy ublic Housing Agency)

.

y:
2 and Title) Asst. Dir.
: 412-456-5137

(Date) (Teleshone)

 
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 24 of 37

‘Housing Assistance Payments Contract
(HAP Contract)

Section 8 Tenant-Based Assistance
Housing Choice Voucher Program

U.S. Department of Housing

and Urban Development
Office of Public and Indian Housing .

 

 

Part A of the HAP Contract: Contract Information

(To prepare the contract, fill out all contract information in Part A.)
1. Contents of Contract
This HAP contract has three parts:

Part A: Contract Information

Part B: Body of Contract

Part C: Tenancy Addendum
2. Tenant

Godina Jett

3. Contract Unit

519 McClintock St
Pittsburgh, PA 15212

4. Household

the owner and the PHA.
Lakeisha M Jett

Darron L Jett
Darronda R Jett

5. Initial Lease Term

The initial lease term begins on (mm/dd/yyyy): 01/16/2005
The initial lease term ends on (mm/dd/yyyy): 12/31/2005

6. Initial Rent to Owner
The initial rent to owner is: $ 540.00

During the initial lease term, the owner may not raise the rent to owner,

7. Initial Housing Assistance Payment

The HAP contract term commences on the first day of the initial lease term.
of the housing assistance payment by the PHA to the owner is $ 300.00

ee
The amount of the monthly housing assistance payment by the PHA to the owner is subjec

in accordance with HUD requirements.

At the beginning of the HAP contract term, the amount

per month.

 

Previous editions are obsolete Page 1 of 10

form HUD-52641 (3/2000)
ref Handbook 7420.8
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 25 of 37

 

, 8. Utilities and Appliances

The owner shall provide or pay for the utilities and appliances indicated below by an “O*. The tenant shall provide or pay for the utilities and appliances indicated
below by a “T". Unless otherwise specified below, the owner shall Pay for all utilities and appliances provided by the owner.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Item Specify fuel type Provided by | Paid by
Heating Natural gas [| Bottle gas [] Oil or Electric [| Coal or Other | Tenant Tenant
Cooking Natural gas [| Bottle gas [| Oil or Electric [] Coal or Other | Tenant Tenant
Water Heating Natural gas [| Bottle gas [| Oil or Electric [| Coal or Other | Tenant Tenant
Other Electric Tenant Tenant
Water Tenant Tenant
Sewer Landlord | Landlord
Trash Collection
es
Air Conditioning ce
——_

Refrigerator =. Tenant Tenant

Range/Microwave | Tenant Tenant

Other (specify) Tenant Tenant
——~

 

 

 

 

 

 

Signatures:

Public Housing Agen .
Housing Auth6rity of jhe City of Pittsburgh |

    

Print or Type wt PHA

  

Owner .

Pinecastl¢ Realty LLC

 

 

Signature / \ .-
Robert Zak, Sectibn 8 Director

Print or Type Name and me Sargon

Date (mm/dd/yyyy)

Mail Payments to:

I ah jnCongh—)

Print or Ty ame and Title of Signatory,
aY-O 5
N___-2ite (mmidaiyyyy)

Pinecastle Realty LLC

Name
210 Pinecastle Rd., Pittsburgh, PA 15206

Address (street, city, State, Zip)

 

 

Previous editions are obsolete

form HUD-52641 (3/2000)

Page 2 of 10 ref Handbook 7420.8
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 26 of 37

‘Housing Assistance Payments Contract

(HAP) Contract
Section 8 Tenant-Based Assistance
Housing Choice Voucher Program

U.S. Department of Housing
and Urban Development
Office of Public and Indian Housing

 

 

Part B of HAP Contract: Body of Contract

1.

Purpose

a.

This is a HAP contract between the PHA and the owner.
The HAP contract is entered to provide assistance for the
family under the Section 8 voucher program (see HUD

Program regulations at 24 Code of Federal Regulations
Part 982).

The HAP contract only applies to the household and
contract unit specified in Part A of the HAP contract,

During the HAP contract term, the PHA will pay housing
assistance payments to the owner in accordance with the
HAP contract,

The family will reside in the contract unit with assistance
under the Section 8 voucher program. The housing assis-
tance payments by the PHA assist the tenant to lease the
contract unit from the owner for occupancy by the family.

Lease of Contract Unit

a.

The owner has leased the contract unit to the tenant for -

occupancy by the family with assistance under the Sec-
tion 8 voucher program.

The PHA has approved leasing of the unit in accordance
with requirements of the Section 8 voucher program.

The lease for the contract unit must include word-for-
word all provisions of the tenancy addendum required by
HUD (Part C of the HAP contract),

The owner certifies that:

(1) The owner and the tenant have entered into a lease of
the contract unit that includes all provisions of the
tenancy addendum.

(2) The lease is in a standard form that is used in the
locality by the owner and that is generally used for
other unassisted tenants in the premises.

(3) The lease is consistent with State and local law.

The owner is responsible for Screening the family’s
behavior or suitability for tenancy. The PHA is not
responsible for such Screening. The PHA has no liability
or responsibility to the owner or other persons for the
family’s behavior or the family’s conduct in tenancy,

Maintenance, Utilities, and Other Services

a.

Previous editions are obsolete

The owner must maintain the contract unit and premises
in accordance with the housing quality standards (HQS).

The owner must Provide all utilities needed to comply
with the HQS.

If the owner does not maintain the contract unit in
accordance with the HQS, or fails to provide all utilities
needed to comply with the HQS, the PHA may exercise
any available remedies. PHA remedies for such breach
include recovery of Overpayments, suspension of hous-

Page 3 of 10

g.

ing assistance payments, abatement or other reduction of
housing assistance payments, termination of housing
assistance payments, and termination of the HAP con-
tract. The PHA may not exercise such remedies against
the owner because of an HQS breach for which the
family is responsible, and that is not caused by the
owner,

The PHA shall not make any housing assistance pay-
ments if the contract unit does not meet the HQS, unless
the owner corrects the defect within the period specified
by the PHA and the PHA verifies the correction. Ifa
defect is life threatening, the owner must correct the

. defect within no more than 24 hours. For other defects,

the owner must correct the defect within the period
specified by the PHA.

The PHA may inspect the contract unit and premises at
such times as the PHA determines necessary, to ensure
that the unit is in accordance with the HQS.

The PHA must notify the owner of any HQS defects
shown by the inspection.

The owner must provide all housing services as agreed to
in the lease.

Term of HAP Contract

a.

Relation to lease term. The term of the HAP contract
begins on the first day of the initial term of the lease, and
terminates on the last day of the term of the lease
(including the initial lease term and any extensions).

When HAP contract terminates.

(1) The HAP contract terminates automatically if the
lease is terminated by the owner or the tenant.

(2) The PHA may terminate program assistance for the
family for any grounds authorized in accordance
with HUD requirements. If the PHA terminates
program assistance for the family, the HAP contract
terminates automatically.

(3) Ifthe family moves from the contract unit, the HAP
contract terminates automatically.

(4) The HAP contract terminates automatically 180 cal-

endar days after the last housing assistance payment
to the owner.

(5) The PHA may terminate the HAP contract if the
PHA determines, in accordance with HUD require-
ments, that available program funding is not suffi-
cient to support continued assistance for families in
the program.

form HUD-52641 (3/2000)
ref Handbook 7420.8
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 27 of 37

(6) The PHA may terminate the HAP contract if the
PHA determines that the contract unit does not
provide adequate space in accordance with the HQs
because of an increase in family size or a change in
family composition.

(7) Ifthe family breaks up, the PHA may terminate the
HAP contract, or may continue housing assistance

payments on behalf of family members who remain
in the contract unit.

(8) The PHA may terminate the HAP contract if the
PHA determines that the unit does not meet all
requirements of the HQS, or determines that the
owner has otherwise breached the HAP contract.

5. Provision and Payment for Utilities and Appliances

a. The lease must specify what utilities are to be provided
or paid by the owner or the tenant.

b. The lease must specify what appliances are to be pro-
vided or paid by the owner or the tenant.

c. Part A of the HAP contract specifies what utilities and
appliances are to be provided or paid by the owner or the
tenant. The lease shall be consistent with the HAP
contract.

6. Rent to Owner: Reasonable Rent

a. During the HAP contract term, the rent to owner may at
no time exceed the reasonable rent for the contract unit
as most recently determined or redetermined by the PHA
in accordance with HUD requirements.

b. The PHA must determine whether the rent to owner is
reasonable in comparison to rent for other comparable

unassisted units. To make this determination, the PHA
must consider:

(1) The location, quality, size, unit type, and age of the
contract unit; and

(2) Any amenities, housing services, maintenance and
utilities provided and paid by the owner.
c. The PHA must redetermine the reasonable rent when
required in accordance with HUD requirements. The
PHA may redetermine the reasonable rent at any time.

d. During the HAP contract term, the rent to owner may not
exceed rent charged by the owner for comparable unas-
sisted units in the premises. The owner must give the PHA
any information requested by the PHA on rents charged by
the owner for other units in the premises or elsewhere.

7. PHA Payment to Owner
a. When paid
(1) During the term of the HAP contract, the PHA must
make monthly housing assistance payments to the

owner on behalf of the family at the beginning of
each month.

(2) The PHA must pay housing assistance payments
promptly when due to the owner,

(3) Ifhousing assistance payments are not paid promptly
when due after the first two calendar months of the
HAP contract term , the PHA shall pay the owner

Previous editions are obsolete Page 4 of 10

penalties in accordance with generally accepted prac-
tices and’ law, as applicable in the local housing
market, governing penalties for late payment by a
tenant. However, the PHA shall not be obligated to
pay any late payment penalty if HUD determines
that late payment by the PHA is due to factors
beyond the PHA’s control. Moreover, the PHA shall
not be obligated to pay any late payment penalty if
housing assistance payments by the PHA are delayed
or denied as a remedy for owner breach of the HAP
contract (including any of the following PHA rem-
edies: recovery of overpayments, suspension of hous-
ing assistance payments, abatement or reduction of
housing assistance payments, termination of housing
assistance payments and termination of the contract).

(4) Housing assistance payments shall only be paid to
the owner while the family is residing in the contract
unit during the term of the HAP contract. The PHA
shall not pay a housing assistance payment to the
owner for any month after the month when the
family moves out.

Owner compliance with HAP contract. Unless the
owner has complied with all provisions of the HAP
contract, the owner does not have a right to receive
housing assistance payments under the HAP contract.

Amount.of PHA payment te owner

(1) The amount of the monthly PHA housing assistance
payment to the owner shall be determined by the
PHA in accordance with HUD requirements for a
tenancy under the voucher program.

(2) The amount of the PHA housing assistance payment
is subject to change during the HAP contract term in
accordance with HUD requirements. The PHA must
notify the family and the owner of any changes in the
amount of the housing assistance payment.

(3) The housing assistance payment for the first month
of the HAP contract term shall be pro-rated for a
partial month.

Application of payment. The monthly housing assis-
tance payment shall be credited against the monthly rent
to owner for the contract unit.

Limit of PHA responsibility.

(1) The PHA is only responsible for making housing
assistance payments to the owner in accordance with
the HAP contract and HUD requirements for a ten-
ancy under the voucher program.

(2) The PHA shall not pay any portion of the rent to
owner in excess of the housing assistance payment.
The PHA shall not pay any other claim by the owner
against the family.

Overpayment to owner. If the PHA determines that the
owner is not entitled to the housing assistance payment
or any part of it, the PHA, in addition to other remedies,
may deduct the amount of the overpayment from any
amounts due the owner (including amounts due under
any other Section 8 assistance contract).

form HUD-52641 (3/2000)
ref Handbook 7420.8
Case 2:05-cv-01052-DSC Document 1-2

‘Housing Assistance Payments Contract
(HAP Contract)

Section 8 Tenant-Based Assistance
Housing Choice Voucher Program

Filed 07/29/05 Page 28 of 37

U.S. Department of Housing
and Urban Development
Office of Public and Indian Housing

 

Instructions for use of HAP Contract

This form of Housing Assistance Payments Contract (HAP con-
tract) is used to provide Section 8 tenant-based assistance under
the housing choice voucher program (voucher program) of the
U.S. Department of Housing and Urban Development (HUD).

The main regulation for this program is 24 Code of Federal
Regulations Part 982. .

The local voucher program is administered by a public housing
agency (PHA). The HAP contract is an agreement between the
PHA and the owner of a unit occupied by an assisted family. The
HAP contract has three parts:

Part A Contract information (fill-ins),
See section by section instructions.

Part B Body of contract
Part C Tenancy addendum
Use of this form
Use of this HAP contract is required by HUD. Modification of the

HAP contract is not permitted. The HAP contract must be word-
for-word in the form prescribed by HUD.

However, the PHA may choose to add the following:

Language that prohibits the owner from collecting a security
deposit in excess of private market practice, or in excess of

amounts charged by the owner to unassisted tenants. Such a’

prohibition must be added to Part A of the HAP contract,

Language that defines when the housing assistance payment -

by the PHA is deemed received by the owner (e.g, upon
mailing by the PHA or actual receipt by the owner). Such
language must be added to Part A of the HAP contract.

To prepare the HAP contract, fili in all contract information in
Part A of the contract. Part A must then be executed by the owner
and the PHA.

Use for special housing types

In addition to use for the basic Section 8 voucher program, this
form must also be used for the following “special housing types”
which are voucher program variants for special needs (see 24
CFR Part 982, Subpart M): (1) single room occupancy (SRO)
housing; (2) congregate housing; (3) group home; (4) shared
housing; and (5) manufactured home rental by a family that leases
the manufactured home and space. When this form is used for a
special housing type, the special housing type shall be specified
in Part A of the HAP contract, as follows: “This HAP contract is
used for the following special housing type under HUD regula-
tions for the Section 8 voucher program: (Insert Name of Special
Housing type)."

However, this form may not be used for the following special
housing types: (1) manufactured home space rental by a family
that owns the manufactured home and leases only the space; (2)
cooperative housing; and (3) the homeownership option under
Section 8(y) of the United States Housing Act of 1937 (42 U.S.C.
1437f(y)).

How to fillin Part A

Section by Section Instructions

Section 2: Tenant

Enter full name of tenant.

Section 3. Contract Unit

Enter address of unit, including apartment number, if any.
Section 4, Household Members

Enter full names of all PHA-approved household members.
Specify if any such person is a live-in aide, which is a person
approved by the PHA to reside in the unit to provide supportive
services for a family member who is a person with disabilities.

Séction 5. Initial Lease Term
Enter first date and last date of initial lease term.

The initial lease term must be for at least one year. However, the
PHA may approve a shorter initial lease term if the PHA deter-
mines that:

o Such shorter term would improve housing opportunities
for the tenant, and

© Suchshorter term is the prevailing local market practice.
Section 6. Initial Rent to Owner
Enter the amount of the monthly rent to owner during the initial
lease term. The PHA must determine that the rent to owner is
reasonable in comparison to rent for other comparable unassisted
units. During the initial lease term, the owner may not raise the
rent to owner.
Section 7. Housing Assistance Payment
Enter the initial amount of the monthly housing assistance payment.
Section 8. Utilities and Appliances

The lease and the HAP contract must specify what utilities and
appliances are to be supplied by the owner, and what utilities and
appliances are to be supplied by the tenant. Fill in section 8 to
show who is responsible to provide or pay for utilities and
appliances.

 

Previous editions are obsolete Page i

form HUD-52641 (3/2000)
ref Handbook 7420.8
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 29 of 37

8. Owner Certification

During the term of this contract, the owner certifies that:

a. The owner is maintaining the contract unit and premises
in accordance with the HQS.

b. The contract unit is leased to the tenant. The lease
includes the tenancy addendum (Part C of the HAP
contract), and is in accordance with the HAP contract
and program requirements. The owner has provided the
lease to the PHA, including any revisions of the lease.

c. The rent to owner does not exceed rents charged by the
owner for rental of comparable unassisted units in the
premises,

d. Except for the rent to owner, the owner has not received
and will not receive any payments or other consideration
(from the family, the PHA, HUD, or any other public or
private source) for rental of the contract unit during the
HAP contract term.

e. The family does not own or have any interest in the
contract unit.

f. To the best of the owner’s knowledge, the members of
the family reside in the contract unit, and the unit is the
family’s only residence.

g. The owner (including a principal or other interested
party) is not the parent, child, grandparent, grandchild,
sister, or brother of any member of the family, unless the
PHA has determined (and has notified the owner and the
family of such determination) that approving rental of
the unit, notwithstanding such telationship, would pro-
vide reasonable accommodation for a family member
who is a person with disabilities,

9. Prohibition of Discrimination. In accordance with appli-

cable equal opportunity statutes, Executive Orders, and regu-
lations:

a. The owner must not discriminate against any person
because of race, color, religion, sex, national origin, age,
familial status, or disability in connection with the HAP

(4) For projects with mortgages insured by HUD or
loans made by HUD, if the owner has failed to
comply with the regulations for the applicable mort-
gage insurance or loan program, with the mortgage
or mortgage note, or with the regulatory agreement;
or if the owner has committed fraud, bribery or any
other corrupt or criminal act in connection with the
mortgage or loan.

(5) Ifthe owner has engaged in any drug-related crimi-
nal activity or any violent criminal activity,

If the PHA determines that a breach has occurred, the
PHA may exercise any of its rights and remedies under
the HAP contract, or any other available rights and
remedies for such breach. The PHA shall notify the
owner of such determination, including a brief statement
of the reasons for the determination. The notice by the
PHA to the owner may require the owner to take correc-
tive action, as verified or determined by the PHA, by a
deadline prescribed in the notice.

The PHA’s rights and remedies for owner breach of the
HAP contract include recovery of overpayments, sus-
pension of housing assistance payments, abatement or
other reduction of housing assistance payments, termi-
nation of housing assistance payments, and termination
of the HAP contract.

The PHA may seek and obtain additional relief by judi-
cial order or action, including specific performance,
other injunctive relief or order for damages.

Even if the family continues to live in the contract unit,
the PHA may exercise any rights and remedies for owner
breach of the HAP contract.

The PHA’s exercise or non-exercise of any right or
remedy for owner breach of the HAP contract is not a
waiver of the right to exercise that or any other right or
remedy at any time.

11. PHA and HUD Access to Premises and Owner’s Records

 

contract a. The owner must provide any information pertinent to the
, HAP contract that the PHA or HUD may reasonably
b. The owner must cooperate with the PHA and HUD in require.
conducting equal oPP Ortunity compli ance reviews and b. The PHA, HUD and the Comptroller General of the
complaint investigations in connection with the HAP :
contract. United States shall have full and free access to the
contract unit and the premises, and to all accounts and
10. Owner’s Breach of HAP Contract other records of the owner that are relevant to the HAP
a. Any of the following actions by the owner (including a contract, including the right to examine or audit the
principal or other interested party) isa breach of the HAP records and to make copies.
contract by the owner: c. The owner must grant such access to computerized or
(1) If the owner has violated any obligation under the other electronic records, and to any computers, equip-
HAP contract, including the owner’s obligation to ment or facilities containing such records, and must
maintain the unit in accordance with the HQS. provide any information or assistance needed to access
(2) If the owner has violated any obligation under any the records.
other housing assistance payments contract under 12. Exclusion of Third Party Rights
Section 8. a. The family is not a party to or third party beneficiary of
(3) If the owner has committed fraud, bribery or any Part B of the HAP contract. The family may not enforce
other corrupt or criminal act in connection with any any provision of Part B, and may not exercise any right
Federal housing assistance program. or remedy against the owner or PHA under Part B.
Previous editions are obsolete Page 5 of 10 tm a aeeat (3/2000)

ref Handbook 7420.8
Previous editions are obsolete

Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 30 of 37

L

The tenant or the PHA may enforce the tenancy adden-
dum (Part C of the HAP contract) against the owner, and
may exercise any right or remedy against the owner
under the tenancy addendum.

The PHA does not assume any responsibility for injury
to, or any liability to, any person injured as a result of the
owner's action or failure to act in connection with man-
agement of the contract unit or the premises or with
implementation of the HAP contract, or as aresult of any
other action or failure to act by the owner.

The owner is not the agent of the PHA, and the HAP
contract does not create or affect any relationship be-
tween the PHA and any lender to the owner or any
suppliers, employees, contractors or subcontractors used
by the owner in connection with management of the

contract unit or the premises or with implementation of
the HAP contract.

13. Conflict of Interest

“Covered individual” means a person or entity who is a
member of any of the following classes:

(1) Any present or former member or officer of the PHA
(except a PHA commissioner who is a participant in
the program);

(2) Any employee of the PHA, or any contractor, sub-
contractor or agent of the PHA, who formulates
policy or who influences decisions with respect to
the program;

(3) Any public official, member ofa governing body, or
State or local legislator, who exercises functions or
responsibilities with respect to the program; or

(4) Any member of the Congress of the United States.

A covered individual may not have any direct or indirect
interest in the HAP contract or in any benefits or pay-
ments under the contract (including the interest of an
immediate family member of such covered individual)
while such person is a covered individual or during one
year thereafter.

“Immediate family member” means thé spouse, parent
(including a stepparent), child (including a stepchild),
grandparent, grandchild, sister or brother (including a
stepsister or stepbrother) of any covered individual.

The owner certifies and is tesponsible for assuring that
No person or entity has or will have a prohibited interest,
at execution of the HAP contract, or at any time during
the HAP contract term.

If a prohibited interest occurs, the owner shall promptly
and fully disclose such interest to the PHA and HUD.

The conflict of interest prohibition under this section
may be waived by the HUD field office for good cause.
No member of or delegate to the Congress of the United
States or resident commissioner shall be admitted to any

share or part of the HAP contract or to any benefits which
may arise from it.

14. Assignment of the HAP Contract

a.

Page 6 of 10

The owner may not assign the HAP contract to a new
owner without the prior written consent of the PHA.

If the owner requests PHA consent to assign the HAP
contract to a new owner, the owner shall supply any
information as required by the PHA pertinent to the
proposed assignment.

The HAP contract may not be assigned to a new owner
that is debarred, suspended or subject to a limited denial
of participation under HUD regulations (see 24 Code of
Federal Regulations Part 24).

The HAP contract may not be assigned to a new owner if

HUD has prohibited such assignment because:

(1) The Federal government has instituted an adminis-
trative or judicial action against the owner or pro-
posed new owner for violation of the Fair Housing

Actor other Federal equal opportunity requirements,
and such action is pending; or

(2) A court or administrative agency has determined
that the owner or proposed new owner violated the
Fair Housing Act or other Federal equal opportunity
requirements. .

The HAP contract may not be assigned to a new owner if
the new owner (including a principal or other interested
party) is the parent, child, grandparent, grandchild, sister
or brother of any member of the family, unless the PHA
has determined (and has notified the family of such
determination) that approving the assignment, notwith-
standing such relationship, would provide reasonable
accommodation for a family member who is a person
with disabilities.

The PHA may deny approval to assign the HAP contract
if the owner or proposed new owner (including a princi-
pal or other interested party):

(1) Has violated obligations under a housing assistance
payments contract under Section 8;

(2) Has committed fraud, bribery or any other corrupt or
criminal act in connection with any Federal housing
program;

(3) Has engaged in any drug-related criminal activity or
any violent criminal activity;

(4) Has a history or practice of non-compliance with the
HQS for units leased under the Section 8 tenant-
based programs, or non-compliance with applicable
housing standards for units leased with project-
based Section 8 assistance or for units leased under
any other Federal housing program;

(5) Has a history or practice of failing to terminate
tenancy of tenants assisted under any Federally as-
sisted housing program for activity engaged in by
the tenant, any member of the household, a guest or
another person under the control of any member of
the household that:

(a) Threatens the right to peaceful enjoyment of the
premises by other residents;

form HUD-52641 (3/2000)
ref Handbook 7420.8
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 31 of 37

(b) Threatens the health or safety of other residents, 15, Written Notices. Any notice by the PHA or the owner in
of employees of the PHA, or of owner employ- connection with this contract must be in writing.
ces or other persons engaged in management of 16. Entire Agreement: Interpretation
the housing;

a. The HAP contract contains the entire agreement between
(c) Threatens the health or safety of, or the right to the owner and the PHA.

peaceful enjoyment of their residents by, per- b.
sons residing in the immediate vicinity of the
premises; or

The HAP contract shall be interpreted and implemented
in accordance with HUD requirements, including the
HUD program regulations at 24 Code of Federal Regu-
(d) Is drug-related criminal activity or violent crimi- lations Part 982.

nal activity;

(6) Has a history or practice of renting units that fail to
meet State or local housing codes; or

(7) Has not paid State or local real estate taxes, fines or
assessments.

g. The new owner must agree to be bound by and comply
with the HAP contract. The agreement must be in
writing, and in a form acceptable to the PHA. The new

owner must give the PHA a copy of the executed agree-
ment.

 

form HUD-52641 (3/2000)
Previous editions are obsolete Page 7 of 10 ref Handbook 7420.8
Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 32 of 37

‘Housing Assistance Payments Contract

(HAP Contract)
Section 8 Tenant-Based Assistance
Housing Choice Voucher Program

 

Part C of HAP Contract: Tenancy Addendum

1. Section 8 Voucher Program

  

EXHIBIT

D

a. The owner is leasing the contract unit to the tenant for
occupancy by the tenant’s family with assistance for a

tenancy under the Section 8 housing choice voucher pro- 5,
gram (voucher program) of the United States Department

of Housing and Urban Development (HUD).

b. The owner has entered into a Housing Assistance Payments
Contract (HAP contract) with the PHA under the voucher

program. Under the HAP contract, the PHA will make b.

housing assistance payments to the owner to assist the

tenant in leasing the unit from the owner.
2. Lease

a. The owner has given the PHA acopy of the lease, including

any revisions agreed by the owner and the tenant.

The c.

owner certifies that the terms of the lease are in accordance
with all provisions of the HAP contract and that the lease

includes the tenancy addendum.

b. The tenant shall have the right to enforce the tenancy

addendum against the owner.

If there is any conflict

between the tenancy addendum and any other provisions of
the lease, the language of the tenancy addendum shall

control.
3. Use of Contract Unit

a. During the lease term, the family will reside in the contract

unit with assistance under the voucher program.

b. The composition of the household must be approved by the
PHA. The family must promptly inform the PHA of the
birth, adoption or court-awarded custody of a child. Other
persons may not be added to the household without prior f.

written approval of the owner and the PHA.

c, The contract unit may only be used for residence by the
PHA-approved household members. The unit must be the

a.
family’s only residence. Members of the household may
engage in legal profitmaking activities incidental to pri-
mary use of the unit for residence by members of the family. b
d. The tenant may not sublease or let the unit.
e. The tenant may not assign the lease or transfer the unit.
4. Rent to Owner
a. The initial rent to owner may not exceed the amount c.

approved by the PHA in accordance with HUD require-

ments.

b. Changes in the rent to owner shall be determined by the

provisions of the lease. However, the owner may not raise

the rent during the initial term of the lease.

c. During the term of the lease (including the initial term of the
lease and any extension term), the rent to owner may at no

time exceed:

(1) The reasonable rent for the unit as most recently
determined or redetermined by the PHA in accordance

with HUD requirements, or

U.S. Department of Housing
and Urban Development
Office of Public and Indian Housing

 

(2) Rent charged by the owner for comparable unassisted
units in the premises.

Family Payment to Owner
a.

The family is responsible for paying the owner any portion
of the rent to owner that is not covered by the PHA housing
assistance payment.

Each month, the PHA will make a housing assistance
payment to the owner on behalf of the family in accordance
with the HAP contract. The amount of the monthly housing
assistance payment will be determined by the PHA in
accordance with HUD requirements for a tenancy under the
Section 8 voucher program.

The monthly housing assistance payment shall be credited
against the monthly rent to owner for the contract unit.

The tenant is not responsible for paying the portion of rent
to owner covered by the PHA housing assistance payment
under the HAP contract between the owner and the PHA. A
PHA failure to pay the housing assistance payment to the
owner is not a violation of the lease. The owner may not
terminate the tenancy for nonpayment of the PHA housing

" assistance payment.

The owner may not charge or accept, from the family or
from any other source, any payment for rent of the unit in
addition to the rent to owner. Rent to owner includes all
housing services, maintenance, utilities and appliances to
be provided and paid by the owner in accordance with the
lease.

The owner must immediately return any excess rent pay-
ment to the tenant.

6. Other Fees and Charges

Rent to owner does not include cost of any meals or

supportive services or furniture which may be provided by
the owner.

The owner may not require the tenant or family members to
pay charges for any meals or supportive services or furni-
ture which may be provided by the owner. Nonpayment of
any such charges is not grounds for termination of tenancy.

The owner may not charge the tenant extra amounts for
items customarily included in rent to owner in the locality,
or provided at no additional cost to unsubsidized tenants in
the premises.

7. Maintenance, Utilities, and Other Services
a.

Maintenance

(1) The owner must maintain the unit and premises in
accordance with the HQS.

(2) Maintenance and replacement (including redecora-
tion) must be in accordance with the standard practice
for the building concerned as established by the owner.

 

Previous editions are obsolete

Page 8 of 10

form HUD-52641 (3/2000)
ref Handbook 7420.8
 

Case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 33 of 37

f ws

11. Family Move Out

The tenant must notify the PHA and the owner before the
family moves out of the unit.

12. Security Deposit

a. The owner may collect a Security deposit from the tenant.
(However, the PHA may prohibit the owner from collecting
a security deposit in excess of private market practice, or in
excess of amounts charged by the owner to unassisted
tenants. Any such PHA-required restriction must be speci-
fied in the HAP contract.)

b. When the family moves out of the contract unit, the owner,
subject to State and local law, may use the security deposit,
including any interest on the deposit, as reimbursement for
any unpaid rent payable by the tenant, any damages to the
unit or any other amounts that the tenant owes under the
lease.

c. The owner must give the tenant a list of all items charged
against the security deposit, and the amount of each item.
After deducting the amount, if any, used to reimburse the
owner, the owner must promptly refund the full amount of
the unused balance to the tenant.

d. Ifthe security deposit is not sufficient to cover amounts the
tenant owes under the lease, the owner may collect the
balance from the tenant.

13. Prohibition of Discrimination

In accordance with applicable equal Opportunity statutes, Ex-
ecutive Orders, and regulations, the owner must not discrimi-
nate against any person because of race, color, religion, sex,

national origin, age, familial status or disability in connection
with the lease.

14. Conflict with Other Provisions of Lease —
a. Theterms of the tenancy addendum are prescribed by HUD

in accordance with Federal law and regulation, as a condi-
tion for Federal assistance to the tenant and tenant’s family

under the Section 8 voucher program.

b. Incase ofany conflict between the provisions of the tenancy
addendum as required by HUD, and any other Provisions of
the lease or any other agreement between the owner and the
tenant, the requirements of the HUD-required tenancy
addendum shall control.

15. Changes in Lease or Rent

a. The tenant and the owner may not make any change in the
tenancy addendum. However, if the tenant and the owner
agree to any other changes in the lease, such changes must be
in writing, and the owner must immediately give the PHA a
copy of such changes. The lease, including any changes,
must be in accordance with the requirements of the tenancy
addendum.

b. In the following cases, tenant-based assistance shall not be
continued unless the PHA has approved a new tenancy in
accordance with program requirements and has executed a
new HAP contract with the owner:

(1) Ifthere are any changes in lease requirements governing
tenant or owner responsibilities for utilities or appli-
ances;

(2) If there are any changes in lease provisions governing .

the term of the lease;

(3) Ifthe family moves to anew unit, even if the unit is in the
same building or complex.

¢. PHA approval of the tenancy, and execution of a new HAP
contract, are not required for agreed changes in the lease
other than as specified in paragraph b.

d. The owner must notify the PHA of any changes in the amount
of the rent to owner at least sixty days before any such
changes go into effect, and the amount of the rent to owner
following any such agreed change may not exceed the
reasonable rent for the unit as most recently determined or
redetermined by the PHA in accordance with HUD require-
ments, .

16. Notices

Any notice under the lease by the tenant to the owner or by the
owner to the tenant must be in writing.

17. Definitions

Contract unit, The housing unit rented by the tenant with assistance
under the program.

Family. The persons who may reside in the unit with assistance
under the program.

HAP contract. The housing assistance payments contract between
the PHA and the owner. The PHA pays housing assistance payments
to the owner in accordance with the HAP contract.

Household. The persons who may reside in the contract unit. The
household consists of the family and any PHA-approved live-in aide.
(A live-in aide is a person who resides in the unit to provide necessary
supportive services for a member of the family who is a person with
disabilities.)

Housing quality standards (HQS). The HUD minimum quality
standards for housing assisted under the Section 8 tenant-based
programs,

HUD. The U.S. Department of Housing and Urban Development.

HUD requirements. HUD requirements for the Section 8 program.
HUD requirements are issued by HUD headquarters, as regulations,
Federal Register notices or other binding program directives.

Lease. The written agreement between the owner and the tenant for
the lease of the contract unit to the tenant. The lease includes the
tenancy addendum prescribed by HUD.

PHA. Public Housing Agency.

Premises. The building or complex in which the contract unit is
located, including common areas and grounds.

Program. The Section 8 housing choice voucher program.

Rent to owner. The total monthly rent payable to the owner for the
contract unit. The rent to owner is the sum of the portion of rent

payable by the tenant plus the PHA housing assistance payment to
the owner.

Section 8. Section 8 of the United States Housing Act of 1937 (42
United States Code 1437f).

Tenant. The family member (or members) who leases the unit from
the owner.

Voucher program. The Section 8 housing choice voucher program.
Under this program, HUD provides funds to an PHA for rent subsidy
on behalf of eligible families. The tenancy under the lease will be
assisted with rent subsidy for a tenancy under the voucher program.

 

Previous editions are obsolete

Page 10 of 10

form HUD-52644 (3/2000)
ref Handbook 7420.8
  

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case 2:05-cv-01052-DSC Document 1-2 Filed 07/29/05 Page 34 of ov .
Housing Authority of the City of Pittsbur h
g

Section 8 Department

200 Ross Street — 7" Floor
Pittsburgh, PA 15219

(412) 456-5090 Fax: (412) 456-5224
www.hacp.org

NOTIFICATION OF RENT

Behan Ld
4 Lindh Ae
96 peat Bary Dats; PAPO
Gear Bal, nd
The.Housing Authority City of Pittsburgh has approved your Section 8 assistance for the
property located at: .

79 Ht Ly lee Z

— ~~

Effective ASO - oF your portion of the rent has been calculated to be
$. 27° per month

 

In addition, the following amounts are applicable to your tenancy as listed above:

Security deposit paidbyTenant . $ Z¥a

 

Rent to Owner (total unit rent) $ FYO

Assistance Paid by Housing Authority $ , 22m.

This notice has been provided in accordance with the U.S. Department of Housing and Urban
Development (HUD) regulations. ‘Fisuse contact our oifice if you Have questions pertaining to your rental
calculation. If you disagree with the amount of your new rent payment you may request an informal
hearing.’ If a hearing is desired, you must submit a written request to this office within fifteen (15) calendar
days of this notice or you will lose your right to a hearing.

Please keep in mind that any changes in your family income and /or composition must be

promptly reported to this office. Once reported, appropriate adjustments will be made.

If you have questions regarding this notification, please contact me at 412-456-5146,

Sincerely, ay
Cs. =

William Wivell
Housing Inspector
 

 

 

 

 

 

 

 

 

 

 

 

OT/18/05  FRIGL&59:F4%y-01052-DSC Document 1-2 Filed 07/29/05 Page 35 of 37
“+. /}CQVIMONWEALTH OF PENNSYLVANIA : LANDLORD AND
» COUNTY OF _ALLEGHENY _ TENANT COMPLAINT
Mag. Bist Now PLAINTIFF: NAME and ADDRESS
O5-2-42 fivecasHe. Keates, Coe
OJ Name; Hon. .
. ROBERT P. RAVENSTAHL, JR. 40: Bex ee SZ
sates! 3874 PERRYSVILLE AVENUE hone $2) O° SF", 59 spor
PITTSBURGH; PA VS.
: 15214-0000 DEFENDANT; NAME and ADDAESS
Telephons: (412) 321-0116 " Kodrna Sowes
Amount Date Paid SIG MElvbk& HE
‘Filing Costs = $_OQ)2)©°: TH/OS fo PA CSBACY
‘Postage $ iid [Phone #:  Wd- A7/- a3SO
Sérvice Costs $ 5 ; 5 rr TS
'. Gonstable Ed. ocket No.: {71 -
‘ot ; Fae as tort neon vets ny ate red OS
. Pa.A.C.P.D.J. No. 206 sets forth tho ts recove
> the prevailing party, orth those costs reg ery M-1\-O035

 

 

 

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Baz

   
 

 

TO THE DEFENDANT: The above named plaintiff(s) a “a
asks judgment together with costs against you for Security Deposits |§ G S82,
the possession of rea{ property and for: Rent: $

Lease is [=F Residential [| Nonresidential.

 

 

Damages for injury.to the real property, to wit:
in the amount of: $

 

[_] Attomey fees inthe amount of

1. The location and the address, if any, of the real property is:_ O/ /' g A Chis che Ave SHY
2. The plaintiff is the landlord of that property.

4, [| Notice to quit was given in accordance with law, or
No notice is required under the terms of the lease.
5. [ | The term for which the property was leased or rented is fully ended, or

["]a forfeiture has resulted by reason of a breach of the conditions of the lease, to wit:

 

[Zito reserved and due has, upon demand, remained unsatistied.
6. You retain the real property and refuse to give up its possession.

J, Sq, Atals/ J RAS i verify that the facts set forth in this complaint

. are true and correct io the bes¥6f my knowledge, information and belief. This Statement is made subject to the
penalties of Section 4904 of the Crimes Code e

 

 

 

[| Damages for the unjust detention of the real property in the amount of §
[Bent remaining due and unpaid on filing date in the amount of — $ fOdD °
eT And additional rent.remaining due and unpaid on hearing date $

 

THE PLAINTIFF FURTHER ALLEGES THAT: - Total: $ /O2G,2? _

3. He leased or rented the property to you or to under whom you claim.

se me

or,

18 PA. C. S. § 4904) relating to unsworn falsification to authorities.

 

{Plaintiffs Attorney) : (Addrass) . (Phone)
1f YOU HAVE A DEFENSE to thie complaint you may present it at the hearing. 1F YOU HAVE A CLAIM against the plaintiff ariaing out of tha occupancy oF the Premises,

 

 

 
 

07/15/05 FRICHES2:OSIcv-01052-DSC Document 1-2 Filed 07/29/05 Page 36 of 37

 

   

 

 

 

  

 

i oo1
- +CQOMMONWEALTH OF PENNSYLVANIA NOTICE OF JU DGMENT/TRANSCRIPT
COUNTY OF ALLEGHENY prawner, RESIDENTIAL LEASE
Mag. Dist, No,; . . . ' NAME and ADDRESS
05-2-42 (PINECASTLE REALTY
MDJ Name: Hon. , PO BOX 9607 -
“ROBERT P. RAVENSTAHL, .JR PGH, PA 15226 ea
“ses: 3874 PERRYSVILLE AVE. L. x xh
PITTSBURGH, PA VS. x
' . DEFENDANT: , NAME and ADDRESS uu
Teephore: (412) 321-0116 15214-09000 (JONES, GODINA
——— 519 MCCLINTOCK AVE "FM “auwokeg- yD)
PITTSEURGH, PA 15214
ROBERT FP. RAVENSTAHL, JR L ~
3874 PERRYSVILLE AVE Docket No.: Lif-0000518-05 |
PITTSBURGH, PA 15214-0006 Date Filed: 7/01/05

 

 

 

 

THIS IS TO NOTIFY YOU THAT:
Judgment:

Judgment was entered for: (Name) PINECASTLE REALTY,
Judgment was entered against JONES, GODINA

ones

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: ina
Landlord/Tenant action in the amount of $___1,113.00 on _. 7/11/05 (Date of Judgment)
The amount of rent per month, as established by the Magisterial District Judge, is$___ 650.90.
The total amount of the Security Depositis$_ G50. 00
. Total Amount Established by MDJ Less- Security Deposit Applied = Adjudicated Amount
Rent in Arrears . ‘ § Toho ob —¢ PRO = $ 1,020.00
Physical Damages Leasehold: Property 00 =§ -00 = ¢ -00
Damages/Unjust Detention 00 — “00 =~ $ 00
Less Amt Due Defendant from Gross Complaint. — $ 1 00
oO | Interest (if provided by lease) $0. 00
, _ UT Judgment Amount $. - -in20 oo
: L] Attachment Prohibited/ - fT. Judgment Costs -. 7 gt ,
42PaCS.§8127 oe Attormey Fees go na
[ ] This case dismissed withdut prejudice. Total Judgment ‘$_. _%,113.00
| Possession granted, ° ° Post Judgment Credits $ —
. us Post Judgment Costs . $_ ___.
oe . : . . Certified Judgment Total — $
Possession granted if money judgment is Hot Satistied By TMS Of Sviction.

Possession not granted. . Defendants are jointly and severally liable.

TEN DAYS AFTER THE DATE OF ENTRY OF JUDGMENT BY FILING A NOTICE ©
OF THE COURT OF COMMON PLEAS, CIVIL DIVISION. THIS: APPEAL WILL INCL
ORDER TO OBTAIN A SUPERSEDEAS, THE APPELLANT MUST DEPOSIT WITH

A JUDGMENT INVOLVING A RESIDENTIAL LEASE, THE PARTY HAS
' THONOTARY/CLERK OF

  
  

COURTS OF THE COURT OF COMMON PLEAS, CIVIL DIVISION,

THE PARTY FILING AN APPEAL MUST INCLUDE A COPY OF THIS NOTICE OF JUDGMENT/TRANSCRIPTFORN WITH THE NOTICE OF APPE
EXCEPT AS OTHERWISE PROVIDED IN THE RULES OF CIVIL PROCEDURE FOR MAGISTERIAL -DISTHIST JUDGES, If THE JUDGMENT

@ judgment. ~
, Magisterial District Judge |
SEAL

   

 

 

 

 

 

My commission expires first Monday of January, 2010 .
Jul 26 05 O¥s@295-cv-OHIRSEe RNCHOCHL LZ, Filed 07/29/05

“6 SMMONWEALTH OF PENNSYLVANIA
COUNTY OF: ALLEGHENY

 

Page 37 of 37

27814350 p.3

ORDER FOR POSSESSION,
RETURN AND NOTICE

 

Mag. Dist. No.:

05-2-42
MDJ Name: Hon.
ROBERT P. RAVENSTAHI, , SR
3874 PERRYSVILLE AVE
PITTSBURGH, PA

Address:

 

Telephone: (412 ) 321-0116

15214-

PLAINTIFF:
(PINECASTLE REALTY
PO BOX 9607

PGH, PA 15226

L

NAME and ADDRESS

vs.

DEFENDANT: NAME and ADDRESS

0000 (JONES, GODINA

 

 

GODINA JONES
519 MCCLINTOCK AVE
PITTSBURGH, PA 15214

 

 

Judgment Amount $

Costs in Original LT Proceeding $
Costs in this Proceeding $
Attorney Fees $

 

Total $

RESIDENTIAL LEAS

LL
Docket No.: LT-0000518-05
Date Filed: 7/01/05
1,020.00 Time Filed: 1:37PM
93.00 Date Order Filed: 7/22/05
28.50

1,141.50

519 MCCLINTOCK AVE
PITTSBURGH, PA 15214

 

 

 

 

   

 

 

 

 

 

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-00

TO THE MAGISTERIAL DISTRICT JUDGE: The above named plaintiff, having obtained a judgment for possession

of real property located at:
Address if any:

519 MCCLINTOCK AVE., PGH

521

 

Requests that
Date:

 

To: JOHN A SNYDER

You are hereby directed to deliver actual
and/or address):

you issue an ORDER FOR POSSESSION for such property.
Plaintiff:

ORDER FOR POSSESSION

(Signature on File)

(Sheriff or Certified Constable)

 

possession to plaintiff, or his agent, of real property located at (Give locatio:
319 MCCLINTOCK AVE., PCH, PA ea oe

 

 

 

 

 

Lf a \
Date:_ 7/22/05 Time:_2:30 p.m/ 7-7” “—Magisteqal Distri
Received Date:_ 9 25 Time: /8 Git An, By:.C / Sheriff JeCertified Constab!
nF RETURN / /
[L] Defendant (Name): GODINA JONES
Adult person in charge (Name): “

 

Served with copy of ORDER FOR POSSESSIO

at (Location and Address):

(Date):

N and served with NOTICE TO VACATE on (Date of service):
519 MCCLINTOCK PA 15214

L] Since none of the above found, served by posting a copy of the complaint conspicuously on the premises at

AVE., PGH,

(Time): :

 

Cj Order satisfied by payment of rent in arrears and costs 0

Amount Paid $

Distribution
To

To vs
To
To
To
To

PAA AA HF

Premises vacaied without forcible entry and ejectment
(] Forcible entry and ejectment (Date):

(Time):
(7 Returned within five business days following delivery of

possession to plaintiff or satisfaction by payment of rent
In arrears and costs.

Expenses and fees of sheriff or certified constable $

 

 

(Signature of Sheritt or Certified Constable)

 

(Print Name and Title)

, NOTICE TO DEFENDANT TO VACATE
If you, and all the occupants of this ok Dobauthorized by the owner oapees thereon, do not vacais.this property within ten (10) days
~ .

after the (date of service) fio %

day of

Wi 0g , the law authorizes me to use, and | must

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use, such force as may be necessary to enter upon this pr erty, the breaking in of any door or otherwise, and to eject you and all unauthorizec
occupants. If necessary, eviction will commence on a oS after 12:01 AM.

AOPC 311B-05

Complete if judgment of possession is based solely on failure to pay rent.

Rent in Arrears ¢_1020.00 Costs ¢_124-00
